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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 BROCK STONE, et al.,
                   Plaintiffs,

         vs.
                                                    Case No. 1:17-cv-02459-MJG
 DONALD J. TRUMP, et al.,

                        Defendants.


                    MEMORANDUM IN SUPPORT OF
        PLAINTIFFS’ MOTION TO COMPEL INITIAL DISCLOSURES

       Federal Rule of Civil Procedure 26(a)(1) and this Court’s Scheduling Order (ECF No. 100)

required Defendants to disclose the individuals, documents, and information that Defendants “may

use” to support their defenses by January 9, 2018. Defendants’ two-sentence “initial disclosure”

contains none of the required identifications, and is tantamount to no disclosure at all:

               The Department of Defense is currently undertaking a study of
               policies concerning transgender service members and upon
               completion of that study, and the development of any new policies
               resulting from that study, Defendants will supplement these
               disclosures as appropriate consistent with Federal Rule of Civil
               Procedure 26(e).

       Defendants have ignored Plaintiffs’ repeated attempts to ascertain whether Defendants will

immediately correct their January 9 “Initial Disclosures,” necessitating this Motion to Compel. In

light of the expedited discovery schedule in this case, Plaintiffs respectfully request that the Court

order Defendants to respond to this motion, if at all, by no later than Wednesday, January 31, with

Plaintiffs’ reply due on Monday, February 5.

                                        BACKGROUND

       Following a telephone conference with the parties on December 13, 2017 (ECF No. 94),

the Court issued a Scheduling Order on December 27, 2017 (ECF No. 100). The discovery
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timeline outlined in the Scheduling Order is identical to the schedule agreed upon by both parties

in their Joint Proposed Scheduling Order submitted to the Court on December 20, 2017. See id.;

ECF No. 98. All parties and the Court agreed that a brisk discovery timeline was appropriate for

this action. Accordingly, the Scheduling Order required Rule 26(a)(1) initial disclosures to be

served no later than January 9, 2018, and orders that all discovery must be completed by April 24,

2018. ECF No. 100.

        Plaintiffs served their initial disclosures on January 9. Defendants, by contrast, served only

a two-sentence document that—although styled as “Defendants’ Initial Disclosures”—contained

no disclosures at all:

                Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A),
                Defendants make the following initial disclosures based on the
                information reasonably available as of this date.

                The Department of Defense is currently undertaking a study of
                policies concerning transgender service members and upon
                completion of that study, and the development of any new policies
                resulting from that study, Defendants will supplement these
                disclosures as appropriate consistent with Federal Rule of Civil
                Procedure 26(e).

Declaration of Mitchell Kamin (“Kamin Decl.”), Ex. 1.

        Plaintiffs conferred with Defendants the next day by telephone, on January 10. In this call,

Plaintiffs’ counsel stated that Defendants’ initial disclosures were manifestly inadequate and

requested that they be corrected promptly. Kamin Decl. ¶ 4. Plaintiffs’ counsel further informed

defense counsel of Plaintiffs’ intention to send a letter detailing Plaintiffs’ concerns. Defendants

agreed to consider Plaintiffs’ letter, id., which Plaintiffs sent via email on January 11, 2018, Kamin

Decl., Ex. 2. Plaintiffs’ January 11 letter explained why Defendants’ “Initial Disclosures” are

inconsistent with both the Federal Rules and common sense; among other things, Defendants’

vigorous defense of this lawsuit, which challenges actions taken by Defendants in July and August


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2017, establishes that Defendants must be aware of at least some facts and information which

Defendants “may” use to defend against Plaintiffs’ claims. Id. at 2. Their failure to timely disclose

those facts and information is inexcusable. 1

        Defendants have not responded to Plaintiffs’ January 11 letter, despite subsequent follow-

up emails from Plaintiffs’ counsel on January 19 and 22. Kamin Decl., Exs. 3, 4.

                                            ARGUMENT

I.      Legal Standard

        Federal Rule of Civil Procedure 26(a)(1) requires that a party “must, without awaiting a

discovery request,” identify “each individual likely to have discoverable information—along with

the subjects of that information—that the disclosing party may use to support its claims or defenses”

and provide a copy or description of “all documents, electronically stored information, and tangible

things that the disclosing party has in its possession, custody, or control and may use to support its

claims or defenses.” Fed. R. Civ. P. 26(a)(1)(A)(i), (ii). Initial disclosures are to be made based

on the information “then reasonably available” to the party, and a party is not excused from this

obligation simply because “it has not fully investigated the case.” Id. 26(a)(1)(E). The purpose of

initial disclosures is for parties to provide “basic information that is needed . . . to prepare for trial

or make an informed decision about settlement.” Id. 26(a)(1), advisory committee’s note (1993

Amendment § (a)).

        Where “a party fails to make a disclosure required by Rule 26(a),” any other party “may

move to compel disclosure and for appropriate sanctions.” Fed. R. Civ. P. 37(a)(3)(A). “[T]he

party or person resisting discovery, not the party moving to compel discovery, bears the burden of



1
 This is at least Defendants’ second attempt to stall discovery in this case, both predicated on the
February 21, 2018 deadline. Defendants requested a stay of discovery until that date during the
December 13, 2017 scheduling conference and the Court denied that request. ECF No. 94.

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persuasion.” Kinetic Concepts, Inc. v. ConvaTec Inc., 268 F.R.D. 226, 243 (M.D.N.C. 2010)

(collecting cases).

       District courts in this Circuit routinely grant motions to compel where a party fails to

provide the disclosures required under Rule 26. See, e.g., Pledger v. UHS-Pruitt Corp., 2013 WL

5603259, at *2 (E.D.N.C. Oct. 11, 2013) (compelling initial disclosures where none were

provided); Companion Prop. & Cas. Ins. Co. v. U.S. Bank Nat’l Ass’n, 2016 WL 3452734, at *2

(D.S.C. June 24, 2016) (holding promise of future supplementation insufficient and compelling

initial disclosure of damages computations based on currently known information); Deakins v.

Pack, 2012 WL 1957795, at *3–4 (S.D. W. Va. May 31, 2012) (compelling supplementation of

initial disclosures where disclosing party knew or could easily obtain information required).

II.    Defendants’ “Initial Disclosures” Are Manifestly Inadequate And Must Be
       Promptly Supplemented Based On Defendants’ Current Knowledge

       A.      Defendants’ Failure To Identify A Single Document Or Individual Is Facially
               Inadequate Under the Federal Rules of Civil Procedure.

       Defendants’ Initial Disclosures did not identify any individuals likely to have discoverable

information, nor did they describe any documents. “[A]n evasive or incomplete disclosure […]

must be treated as a failure to disclose.” Fed. R. Civ. P. 37(a)(4); see Mezu v. Morgan State Univ.,

269 F.R.D. 565, 573 (D. Md. 2010). As such, this Court should issue an order compelling

Defendants to provide a complete disclosure based on their current knowledge of the facts.

       Defendants’ vague promise to “supplement” their Initial Disclosures a month from now

does not excuse their failure to produce adequate disclosures in the first place. Although their

position is not entirely clear, Defendants appear to suggest that they need not identify any

individuals or documents because Defendants are still “studying” President Trump’s August 25,

2017 Transgender Service Member Ban for the purpose of generating a February 21, 2018

“implementation plan,” and state that Defendants may “supplement” their Initial Disclosure once

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that plan is issued. Defendants’ use of the term “supplement” is inapt: Defendants have not yet

provided any information to supplement. In any event, a party’s obligation to timely supplement

its disclosures does not discharge Defendants’ current obligation to provide complete and correct

initial disclosures, based on the information currently available to Defendants and supported by a

reasonable inquiry. See Fed. R. Civ. P. 26(g)(1)(A) (“By signing [a disclosure], an attorney or

party certifies that to the best of the person’s knowledge, information, and belief formed after a

reasonable inquiry […] with respect to a disclosure, it is complete and correct as of the time it is

made.” (emphasis added)); see also D. Md. Local Rules, Appx. A, Guideline i(e); In re

Oakwood Homes Corp., 340 B.R. 510, 541 (Bankr. D. Del. 2006) (requiring initial disclosure as

to computation of damages based on “the best information then available”).

        In addition to being contrary to their obligations under the Federal Rules of Civil Procedure,

Defendants’ position defies logic. Plaintiffs have alleged claims arising from the President’s

policy decision to ban transgender individuals from serving in the military, first announced via

Twitter on July 26, 2017, and formalized as a memorandum to the Secretary of Defense and

Secretary of Homeland Security on August 25, 2017. See ECF Nos. 40-22, 40-21. Regardless of

the future results of the Department of Defense’s ongoing study concerning the implementation of

the August 2017 Ban, there is no conceivable justification for Defendants’ failure to identity

witnesses and documents related to the formation of that policy now. Nor is there any justification

for Defendants not to disclose evidence presently known pertinent to the ongoing “study,” such as

the individuals who are involved in it, any documents on which those individuals have relied or

intend to rely, and any policy recommendations currently being considered based on the study’s

results to date.




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        B.     Plaintiffs Are Prejudiced By Defendants’ Failure To Timely Disclose Pursuant To
               Rule 26(a).

        Defendants’ refusal to serve complete and accurate initial disclosures prejudices Plaintiffs’

ability to litigate this case. Discovery will close on April 24, 2018. ECF No. 100. Defendants

apparently intend to “supplement” their Initial Disclosures, if at all, upon completion of the

Department of Defense’s study into their policies on or after February 21, 2018. In other words,

Defendants have unilaterally decided to withhold their evidence from Plaintiffs until only two

months of discovery remain. Defendants’ obfuscation materially impairs Plaintiffs’ ability to

investigate the individuals and documents Defendants ultimately choose to reveal. See Winston v.

Land Transp., LLC, 2007 WL 2471063, at *2 (E.D. Va. Aug. 27, 2007) (“It is beyond question

that the disclosures required by Rule 26 are the basis for the framing of further discovery requests

by the adverse party.”). Moreover, numerous depositions have already been scheduled in the

related D.D.C. case. Plaintiffs cannot adequately prepare to participate in those depositions

without knowing the materials and information on which Defendants’ witnesses would purport to

rely.

                           REQUEST FOR EXPEDITED BRIEFING

        In light of the rapid discovery timeline in this case and the ongoing prejudice to Plaintiffs’

ability to obtain discovery into Defendants’ defenses, it is imperative that Defendants provide

complete initial disclosures well in advance of February 21, 2018. Defendants’ initial deadline to

do so—January 9, 2018—has long since passed. Under a standard briefing schedule this Motion

would likely not be decided until after February 21. As such, Plaintiffs respectfully request that

Defendants be required to oppose this Motion, if at all, by Wednesday, January 31, 2018. Plaintiffs’

reply, if any, should be due on Monday, February 5.




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                                        CONCLUSION

       For the foregoing reasons, the Court should issue an order compelling Defendants to

make complete initial disclosures consistent with Federal Rule of Civil Procedure 26(a)(1) within

two business days of the issuance of an order granting this Motion.




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            CERTIFICATE OF GOOD FAITH CONFERENCE OF COUNSEL

       Pursuant to Federal Rule of Civil Procedure 37(a)(1) and Local Rule 104.7, Plaintiffs’

counsel hereby certify that on January 10, 2017 at approximately 1:00 p.m. EST they conferred in

good faith via telephone with counsel for Defendants regarding Defendants’ Initial Disclosures, as

described in the accompanying Declaration of Mitchell Kamin. Participating in this conference

were Mitchell Kamin and Marianne Kies, counsel for Plaintiffs, and Ryan Parker, counsel for

Defendants. During this conference, Plaintiffs’ counsel requested prompt correction of Defendants’

Initial Disclosures. Plaintiffs’ counsel then sent defense counsel a letter on January 11 reiterating

Plaintiffs’ request in greater detail. Plaintiffs’ counsel subsequently sent two follow-up emails

requesting a response from Defendants to Plaintiffs’ January 11 letter, on January 19 and January

22. Defense counsel has not responded to Plaintiffs’ letter, nor the subsequent emails. Plaintiffs

were therefore unable to ascertain Defendants’ position on this Motion.




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                                             Respectfully submitted,
Dated: January 26, 2018
                                             /s/Peter J. Komorowski

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